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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THEDISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA            )   Criminal No. 1:22-cr-00015-APM
                                    )
                  v.                )
                                    )
KELLY MEGGS,                        )
                                    )
      DEFENDANT.                    )
____________________________________)
                                    )
UNITED STATES OF AMERICA            )
                                    )
                  v.                )
                                    )
ELMER STEWART RHODES III,           )
                                    )
      DEFENDANT.                    )
____________________________________)

                  DEFENDANTS MOTION FOR EXTENSION OF TIME

       Defendants Kelly Meggs and Elmer Stewart Rhodes III, by and through undersigned

counsel, respectively moves this Court for an Order permitting Messrs. Meggs and Rhodes to file

a response to the government’s brief regarding restitution (July 7, 2023) (ECF No. 654).

       At the sentencing for Messrs. Meggs and Rhodes, the Court requested additional briefing

concerning the government’s then request for restitution. See Minute Order (June 6, 2023).

Thereafter, the government requested additional time to brief the question posed by the Court,

which the Court granted, see Minute Order (June 23, 2023), and, on July 7, 2023, the

government submitted its brief as requested by the Court. (ECF No. 654). Earlier this evening,

Defendants filed their brief in response. (Aug. 2, 2023) (ECF. No. 680).

       Defendants Meggs and Rhodes now seek an Order from this Court permitting the late

filing of a response to the government’s brief, nunc pro tunc, today, August, 2, 2023, a week
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after the Court had previously set the briefing deadline for any defendant to file a response to the

government’s brief.

       Counsel for Defendants Meggs and Rhodes have met and conferred with counsel for the

government, which advised that they do not oppose the defendants’ request so long as the Court

permits the government to file a reply brief on or before August 12, 2023. This deadline falls

within the deadline imposed by 18 U.S.C. § 3664(d)(5), or August 25, 2023 – 90 days from the

sentencing of Messrs. Meggs and Rhodes on May 25, 2023.

                               [SIGNATURE ON NEXT PAGE]




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Dated: August 2, 2023            Respectfully submitted,

                                        /s/ Stanley E. Woodward, Jr.
                                 Stanley E. Woodward, Jr. (D.C. Bar No. 997320)
                                 BRAND WOODWARD LAW, LP
                                 400 Fifth Street, Northwest
                                 Suite 350
                                 Washington, DC 20001
                                 202-996-7447 (telephone)
                                 202-996-0113 (facsimile)
                                 Stanley@BrandWoodwardLaw.com

                                 Counsel for Defendant Kelly Meggs




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                               Certificate of Electronic Service

       I hereby certify that on August 2, 2023, I electronically filed the foregoing with the Clerk

of Court using the CM/ECF System, with consequent service on all parties of record.

                                           Respectfully submitted,

                                                  /s/ Stanley E. Woodward, Jr.
                                           Stanley E. Woodward, Jr. (D.C. Bar No. 997320)
                                           BRAND WOODWARD LAW, LP
                                           400 Fifth Street, Northwest
                                           Suite 350
                                           Washington, DC 20001
                                           202-996-7447 (telephone)
                                           202-996-0113 (facsimile)
                                           Stanley@BrandWoodwardLaw.com

                                           Counsel for Defendant Kelly Meggs
